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                    THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MINNESOTA


SMARTMATIC USA CORP.,
SMARTMATIC
INTERNATIONAL HOLDING B.V. and
SGO CORPORATION LIMITED,

                 Plaintiffs,                 Case No. 22-cv-00098-WMW-JFD

v.

MICHAEL J. LINDELL and MY PILLOW,
INC.,

                 Defendants.
_____________________________________________________________________________

    DEFENDANTS’ MICHAEL LINDELL AND MY PILLOWS’ REPLY BRIEF
    IN SUPPORT OF DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT
_____________________________________________________________________________

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                                 PRELIMINARY STATEMENT

       The frustrating thing about opinions is that people hold different, even sharply conflicting,

opinions. But in a free society we protect – even guarantee – the right of the people to hold

different opinions. The halls of Congress and our state legislatures are populated by elected

representatives who give voice to markedly different views, all supported by evidence that has

convinced them to adopt those views. Importantly, the people these elected officials represent

have the right to offer their opinions to their representatives and to participate in the broader public

debate over matters of public concern. This swirl of differing views is informed by evidence of all

types – obviously conflicting – that purport to support these views.

       The fact that one person is persuaded by certain evidence, but rejects other, competing

evidence that may persuade someone else, is an inherent dynamic of opinions. The fact that people

disagree, or that people weigh the credibility of evidence differently, does not undermine the

genuineness of diverse opinions. Sadly, it is a mark of today’s world that people often ascribe all

manner of malevolence to those who disagree with them. Fortunately, the regime erected by the

First Amendment stands as stalwart protection for the right of people to hold different opinions,

and yes, even “the right to be wrong” in the face of the most hostile opposition.

       These constitutional protections insulate the expression of opinions on matters of public

concern from legal penalty. See Defendants’ Memorandum of Law in Opposition to Plaintiffs’

Motion for Partial Summary Judgment, at 4-8 (“Defs. Opp.”). Further, even an expression of fact

concerning a public figure or matter of public concern is not actionable unless it is false and uttered

with actual malice – that is, with knowledge of its falsity or reckless disregard of whether the




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statement was false. See, id., at 8. “Actual malice” is a precise legal concept that does not mean

ill will, hostility, or self-interest. Id.

        The fundamental task before this Court is to adjudicate whether a genuine dispute of

material fact prevents summary judgment on the issues raised by the parties. What facts are

“material” is determined by the relevant substantive law. Anderson v. Liberty Lobby, Inc., 477

U.S. 242, 248 (1986); Oien v. Home Depot U.S.A., Inc., 69 F.4th 487, 490 (8th Cir. 2023). In this

case, it is on this question of materiality that the constitutional bounds that protect speech must be

brought to bear, and which expose the animating flaw in Plaintiffs’ arguments.

        At bottom, Plaintiffs’ Opposition relies on facts that are legally immaterial to Defendants’

Motion for Summary Judgment—even assuming Plaintiffs’ purported facts are true. Thus

Plaintiffs’ extended discussion of sources supposedly contradicting Lindell’s opinions or

otherwise claiming that he was “on notice” that he was wrong, see Smartmatic’s Memorandum of

Law in Opposition to Defendants’ Motion for Summary Judgment, at 8-26 (“Pls. Opp.”), is

immaterial to the attributes that establish Lindell’s speech as an expression of opinion that cannot

be the basis for actionable defamation. Defs. Opp., at 16-32. While Plaintiffs engage in a

tendentious disdain for the credibility of the sources on which Lindell relied, see, e,g,. Pls. Opp.

at 8, that is to be expected in a clash of opinions. Such a self-serving characterization of Lindell’s

sources, especially given the context of public discussion over the integrity of computerized

voting, see Defs. Opp. at 9-12, hardly constitutes evidence that Lindell’s expression was not a

constitutionally protected opinion.

        The proposition that Lindell’s expression was constitutionally protected opinion also

informs any analysis of whether he spoke with actual malice. Plaintiffs again rely on claims that

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certain sources contradicted Lindell’s opinions or otherwise put him “on notice” that he was wrong

as evidence of Lindell’s actual malice. Pls. Opp. at 8-26. But in the face of sources that Lindell

believed to be credible – which he had every right to do – there is no evidence in the record that

remotely suggests that Lindell ever had serious doubts about the truth of his opinion about the

vulnerabilities of computerized voting. And, again, his concern over those vulnerabilities was

hardly idiosyncratic, but was shared by many other public figures. See Defs. Opp. at 9-12.

       In sum, the record contains no evidence that creates a dispute of material facts that defeats

their motion for summary judgment. Specifically, the record holds no evidence establishing

material facts that dispute that

       • Plaintiffs are so inextricably intertwined with a government activity that they cannot
         bring defamation claims based on criticisms of that activity;

       • Lindell’s actual statements (not Plaintiffs’ ascribed narratives) were opinions that
         cannot support a claim for defamation;

       • Lindell did not act with actual malice; and

       • Plaintiffs suffered no injury resulting from Lindell’s alleged statements, and so they do
         not have standing to bring this action.

                                          ARGUMENT

       I. The First Amendment bars Plaintiffs’ claims because Smartmatic is so
          inextricably intertwined with the government’s elections operations that it
          cannot use civil claims to suppress criticism of those operations.

       Plaintiffs cannot bring a defamation claim to punish criticism of the government’s elections

operations because they are so intimately involved in those operations. See Memorandum in

Support of Defendants Michael Lindell’s and My Pillow’s Motion for Summary Judgment, at 12

– 18 (Defs. S.J. Br.”). When the government handles all aspects of balloting and tabulation, any

person may criticize the administration of elections with impunity. The same would be true were

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the government to create and operate its own electronic voting systems. That the government

utilizes a private entity to design and implement electronic voting systems should not open the

door to defamation liability for critics of electronic voting technology.

       The proposition that a private company can be so involved in a governmental activity as to

act under color of law and assume the attributes of the government is far from a novelty in our

jurisprudence. See e.g. Lugar v. Edmondson Oil Co., Inc., 457 U.S. 922 (1982) (private parties

acted under color of law for conspiring with government official in scheme to defraud); Magee v.

Trustees of the Hamline University, Minn., 957 F.Supp.2d 1047 (2013) (acting as government

under color of law where private actor is willful participant in joint activity with the state or its

agents).

       Plaintiffs contend that what it calls the “state-action doctrine” can only be used to hold a

private entity responsible for violations of constitutional rights and cannot be used to preclude a

private company from bringing a lawsuit. Pl. Opp. at 5. But this dodges Lindell’s argument.

Smartmatic does not sell paper clips to the government. Smartmatic’s product is election

equipment that deals with counting votes. 1 The operation of elections is traditionally an exclusive

public function. See Manhattan Comm. Access Corp. v. Halleck, 587 U.S. 802, 814-15 (2019).

Smartmatic’s machinery must pass state certifications – that is, must be designed to the

requirements of Smartmatic’s government-customers – for Smartmatic even to be eligible to bid

on a contract to run an election. Defs. Br. Supp. Mot. Summ. Judg. ¶¶ 5 – 32. Thus, Smartmatic’s




1
  Smartmatic LA County Deploying VSAP Model, at https://www.smartmatic.com/us/case-
studies/los-angeles-county-building-deploying-vsap-a-model-for-21st-century-elections/

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product, and the services it provides to run that product, are inherently intertwined with, and in a

real sense indistinguishable from, the governmental activity of running elections.

        Lindell’s essential point is that a government choosing to use such machines to run

elections is making a critical mistake because of their inherent vulnerabilities to manipulation.

Thus the government’s choice to use such machines because of the attributes of those machines is

the target of Lindell’s criticism. In such a posture, a defamation suit attacking the criticism of

Plaintiffs’ machines is effectively striking a blow in defense of the government’s choice to use

them. Under the First Amendment, just as the government could not bring such a lawsuit itself,

see New York Times v. Sullivan, 376 U.S. 254, 291 (1964) (observing that no court “of last resort

in this country has ever held, or even suggested, that prosecutions for libel on government have

any place in the American system of jurisprudence.”) (internal quotations omitted), so Plaintiffs

cannot employ a defamation suit that has the effect of intimidating and silencing those who would

criticize how governments run elections.

        Plaintiffs further argue that Smartmatic does not qualify as a state actor because Los

Angeles County, not Smartmatic, was in full control of election equipment and the operation of

vote centers, election security, ballot transportation and tabulation, and auditing of results. Pl.

Opp. at 4. Los Angeles County was not, however, in full control of ballot creation, ballot marking,

or ballot tabulation. The creation and the marking of ballots was handled entirely by the election

equipment designed, manufactured, and supported by Smartmatic. 2 Moreover, Smartmatic and its

technology were involved in the counting and tabulating of votes in Los Angeles County. Id.



2
    Supra note 1.

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Smartmatic’s BMD system encodes the voter’s choice in a QR code that is printed on the voter’s

ballot. First Cotton Decl. ¶ 25. The QR code is not human readable—it requires technology to be

read. Id. The tabulation system cannot count or tabulate votes without the ability to read the QR

codes generated by the Smartmatic BMD system. Despite the tame role claimed by Smartmatic in

Los Angeles County (Pl. Op, Ex.2 Affidavit of Mugica), Smartmatic was far more involved in the

L.A County 2020 election than just supplying BMDs. They were directly responsible for

managing critical aspects of the LA. County election. Second Cotton Decl. dated 12/27/24. These

facts, taken together, show that Smartmatic is more than a mere government contractor. Rather,

Smartmatic is inextricably involved the traditionally exclusive public function of operating

elections, and so in that role is indistinguishable from the government. Brentwood Acad. v.

Tennessee Secondary Sch. Athletic Ass’n, 531 U.S. 288, 296 (2001); Halleck, 587 U.S. at 810.

       Put another way, if Plaintiffs do have a right to bring this lawsuit, how would citizens who

want to oppose the government’s use of computerized election machinery go about that without

exposing themselves to defamation litigation by those who make and operate that machinery? At

bottom, allowing a government contractor in the unique posture of Plaintiffs to bring a defamation

suit for criticism of the governmental activity in which they are so intimately involved empowers

that contractor to be a stalking horse for the government to suppress that criticism. Such a result

is at war with the bedrock First Amendment principles that permits even robust speech to ensure

the accountability of the government.




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       II. There is no genuine issue of material fact that Lindell’s actual statements were
           non-actionable opinions on matters of public concern.

       There is no genuine issue of material fact that Lindell’s actual statements (not Plaintiffs’

ascribed narratives) were opinions. Even if Court found that Plaintiffs could raise these claims as

an arm of the government, their fictious ascribed narratives about Lindell’s statements are

inaccurate, grossly exaggerated, and, thus, there is no material fact issue that Lindell’s statements

were non-actionable opinions. See Defs. S.J. Br. at 29 – 31, 37 – 38; Defs. Opp. at 17 – 19. Lindell

has never used the term “rigged” (or any variation thereof) and did not engage in the

“disinformation campaign” narrative about Plaintiffs that they attempt to convince the Court of

with their numerous exhibits and misrepresentations of context about Lindell’s speech. Id. With

this case, Plaintiffs ask this Court to overturn over 70 years of precedent and “prescribe what shall

be orthodox in politics…forc[ing] citizen Michael Lindell to “confess by word” that he has no

concerns about electronic voting machines, the 2020 general election, or network infiltration into

U.S. elections. See West Virginia State Board of Education v. Barnette, 319 U.S. 624, 642 (1943).

       Removing the “weeds” from Plaintiffs’ unnecessarily complex “rebuttal” is the

fundamental fact that Lindell’s actual, published statements were opinions about electronic voting

machines and concerns regarding network vulnerabilities mainly in 2021—during nationwide

intense public debate surrounding the 2020 general election. This is not defamatory nor a basis to

sustain this case beyond summary judgment, and Plaintiffs ascribed “narratives” to Lindell’s

general statements fail to show there is any issue of material fact that Lindell’s statements

constituted more than opinions on matters of public concern. See Defs. S.J. Br. at 29 – 31, 37 –

38; Defs. Opp. at 17 – 19. Plaintiffs’ assertion that Defendants “waived” their “opinion” argument



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fails because Defendants sufficiently raised this argument both in their Motion for Summary

judgment and their response to Defendants’ motion for partial summary judgment. See id.

Arguments are only waived where the record shows that a party has failed to develop any

argument on an issue. Plaintiffs’ assertions here mischaracterize the legal standard and the case

record, and thus, should be disregarded. Further, even if the Court believed that Defendants’

“opinion” argument was not “fully developed” in their initial brief, the Court is not precluded

from considering a supplemented Reply argument. See Barham v. Reliance Standard Life Ins. Co.,

441 F.3d 581, 584 (8th Cir. 2006). This is even more permitted where the Defendants have fully

addressed and briefed the same issue in other briefing before the Court. See e.g. Frank v. Winter,

528 N.W.2d 910, 913 (Minn. Ct. App. 1995) (holding the trial court may address issues not fully

developed in an initial brief if the consideration could potentially end the litigation); Sidney M. v.

Kijakazi, 630 F. Supp. 3d 1077, 1096 (N.D. Iowa 2022) (considering an issue on the merits

because the parties had briefed the issue on the record).

       However, here, Lindell and My Pillow not only addressed the opinion argument in their

initial brief but expounded substantially on that in their Briefing on the Defendants’ motion for

partial summary judgment. See Defs. Br. Opposition to Pls. Mot. Partial Summ. Judg. at pp. 16 –

33 (detailing Plaintiffs’ factual misrepresentations and Lindell’s statements of opinion in accurate

context). The Plaintiffs refusal to analyze, address, nor rebut Lindell’s opinion arguments

concedes that Lindell’s actual statements—not the fictional manifestations Plaintiffs ascribed to

Lindell—were, indeed, opinions on matters of public concern. Thus, Lindell and My Pillow are

entitled to Summary Judgment on all claims because Lindell’s actual statements, in context, were

non-actionable opinions. See id.

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       III. Even if the Court found that some of Lindell’s statements were factual
           assertions, there are no issues of material facts that Lindell acted with actual
           malice.

       There are no material facts at issue that Lindell acted with actual malice, certainly none

that justify expending further resources litigating this matter or having a jury seated merely for

Plaintiffs to try and conjure any evidence of “actual malice” by Lindell. Although Plaintiffs raise

“facts” that they alleged put Lindell on “notice” of false statements, this is a distraction from

Defendants’ argument that Plaintiffs failed to raise a single legitimate material fact issue that

Lindell acted with any actual malice—because none exists. See Defs. S.J. Br. at 19 – 28. For

summary judgment, facts are “material” if they constitute a legal defense, their “existence or

nonexistence might affect the result of an action, or when the resolution of the issue they raise is

so essential that the party against whom it is decided cannot prevail.” Odom v. Tripp, 575 F. Supp.

1491, 1492 (E.D. Mo. 1983) (citations omitted). “Where the determinative facts are …clearly

established by the record so that one of the parties is shown to be entitled to judgment as a matter

of law, it is the duty of the Court to grant summary judgment accordingly; this notwithstanding

that there may be a dispute as to immaterial points.” Id.

       Here, Plaintiffs’ argument rests on a fundamental misunderstanding of the proper legal

standard because if the proper standard were applied, no reasonable juror could conclude that

Lindell made the statements at issue with actual malice. Plaintiffs assert that they may rely on

circumstantial evidence to prove actual malice. Pl. Opp. at 7. Attempting to demonstrate the ways

in which circumstantial evidence may be used to establish actual malice, Plaintiffs quote a portion

of the following footnote from Herbert v. Lando:




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       The existence of actual malice may be shown in many ways. As a general rule, any
       competent evidence, either direct or circumstantial, can be resorted to, and all the
       relevant circumstances surrounding the transaction may be shown, provided they
       are not too remote, including threats, prior or subsequent defamations, subsequent
       statements of the defendant, circumstances indicating the existence of rivalry, ill
       will, or hostility between the parties, facts tending to show a reckless disregard of
       the plaintiff's rights, and, in an action against a newspaper, custom and usage with
       respect to the treatment of news items of the nature of the one under consideration.
       The plaintiff may show that the defendant had drawn a pistol at the time he uttered
       the words complained of; that defendant had tried to kiss and embrace plaintiff just
       prior to the defamatory publication; or that defendant had failed to make a proper
       investigation before publication of the statement in question. On cross-examination
       the defendant may be questioned as to his intent in making the publication.

441 U.S. 153, 164 n. 12 (1979) (quoting 50 Am. Jur.2d Libel and Slander § 455 (1970)).

       But Plaintiffs’ reliance on this footnote is inappropriate, because they take the passage out

of its proper context. The Herbert Court in the above-quoted footnote was not explaining how

actual malice in the First Amendment sense, as required by New York Times and its progeny in

cases involving public figures, may be shown. Rather, the Herbert Court was discussing the

common-law privilege, developed “long before New York Times was decided, that “protect[s] a

publisher from liability for libel unless the publication was made with malice.” Id. at 163. The

text relied upon by Plaintiffs is a quote from American Jurisprudence used by the Herbert Court

to show how the old, common-law privilege of malice could be established. See id. at 163-164

and n. 12. It is inapposite to a determination of actual malice under New York Times.

       By focusing on the Herbert footnote regarding common-law malice, Plaintiffs mistakenly

direct the actual-malice inquiry toward factors that have no bearing on the New York Times actual-

malice standard, such as ill will toward the defendant, hostility, and motive. See Harte-Hanks

Commc'ns, Inc. v. Connaughton, 491 U.S. 657, 667 n. 7 (1989) (“The phrase ‘actual malice’ is

unfortunately confusing in that it has nothing to do with bad motive or ill will.”). Under New York

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Times and its progeny, the “actual malice standard is not satisfied merely through a showing of ill

will or ‘malice’ in the ordinary sense of the term.” Harte-Hanks, 491 U.S. at 666. Instead, actual

malice focuses entirely on the defendant’s state of mind concerning the truth or falsity of the

statement. The “reckless disregard for the truth” required by the actual-malice standard, id., can

only be established if there is “sufficient evidence to permit the conclusion that the defendant in

fact entertained serious doubts as to the truth of his publication.” St. Amant v. Thompson, 390 U.S.

727, 731 (1968). Under this subjective standard, Plaintiffs must put forward sufficient evidence

to show that “defendant actually had a ‘high degree of awareness of … probable falsity.’” Harte-

Hanks, 491 U.S. at 688 (quoting Garrison v. Louisiana, 379 U.S. 64, 74 (1964)). Consequently,

circumstantial evidence may not be considered unless it is probative of whether Lindell actually

entertained serious doubts as to the truth of his statements or had a high degree of awareness of

probable falsity.

       Given the requirement to show that the defendant entertained subjective, serious doubts

about the truth of his statements, a “failure to investigate alone does not support a finding of actual

malice.” Campbell v. Citizens for an Honest Gov't, Inc., 255 F.3d 560, 570 (8th Cir. 2001). This

is true even if “a reasonably prudent man … would have investigated before publishing.” Id. And

while the Supreme Court has held that “recklessness may be found where there are obvious

reasons to doubt the veracity of the informant or the accuracy of his reports,” St. Amant, 390 U.S.

at 732, the governing subjective standard must still be met. That is, the reasons to doubt the

veracity of the informant must be so obvious that they permit the conclusion that the defendant

must have entertained serious doubts about the truth of the statement. Keeping the subjective

standard in mind, it also follows that an obviously doubtful source is not alone sufficient to

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establish reckless disregard for truth or falsity. Not only must there be obvious reasons to doubt

the source, but also the source must be the defendant’s sole source for the information in question.

       Plaintiffs here may not merely point to what they believe are indications that Lindell’s

sources lack credibility and claim that constitutes evidence of actual malice. Nor may Plaintiffs

rely on the existence of conflicting information as a basis to establish actual malice. See Speer v.

Ottaway Newspapers, Inc., 828 F.2d 475, 478 (8th Cir. 1987) (“A publisher’s failure accurately to

guess which of two conflicting accounts a jury might later believe does not demonstrate actual

malice…To find liability in these circumstances would undermine the purpose for which the

Supreme Court in New York Times adopted the actual malice requirement – to prevent the self-

censorship that may arise if a critic of official conduct were compelled to guarantee the actual

truth of all factual assertions on pain of a libel judgment.”).

       Plaintiffs assert that they have accumulated extensive circumstantial evidence showing that

Lindell acted with reckless disregard for whether his statements were false or not. But this is not

the correct legal standard. Plaintiffs were required to provide evidence showing that Lindell “in

fact entertained serious doubts” about the truth of his statements. St. Amant, at 731 (1968). Not

only is there no evidence that Lindell ever doubted the truth of his opinions about voting machines

or the 2020 election, but the conclusory statements raised by “state and federal” officials that

Plaintiffs rely on do not include a single page, document or record of any supporting

“investigation” or audit they refer to. Not one.

       Plaintiffs cannot ask this Court to expend significant resources, jury time and costs simply

to “see whether they can find actual malice.” Plaintiffs have not presented evidence of a single



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material fact that establishes that Lindell acted with actual malice so as to create a dispute of

material fact sufficient to require a trial of this case.

           A. Plaintiffs cannot establish actual malice because Lindell relied on multiple sources
              and there are no “obvious” reasons to doubt those sources.

       Plaintiffs claim that Lindell has no “credible source” that supports the statements at issue.

Def. Opp. at 8. This claim is not true. Lindell (publicly) relied on multiple independent sources.

Importantly, Plaintiffs’ judgments about the credibility of Lindell’s sources are completely

irrelevant. It is Plaintiffs’ burden to show actual malice by establishing that Lindell harbored

subjective, serious doubts about the truth of his statements. As discussed above, the only way for

Plaintiffs to meet that burden by means of questioning the credibility of Lindell’s sources is to

demonstrate that there were “obvious reasons” to doubt each of Lindell’s sources. Here, Lindell

did not rely on one source – Lindell had over 10 sources that he introduced and broadcasted in

conjunction with his alleged statements. See e.g. Pls. Exs. 9, 29 to Pls. Mot. for Partial Summ.

Judgment; see also Decl. Lindell ¶¶ 2 – 7. Each separate expert unknowingly supported

statements, data, and opinion by others. Id. Smartmatic’s assertions that the sources are not

credible do not amount to “obvious” reasons that are sufficient to show that Lindell entertained

serious doubts about the truth of his statements.

       That Lindell did not credit information provided by Smartmatic and Dominion does not

constitute a basis for establishing actual malice. Plaintiffs spend a significant portion of their

opposition brief arguing that Lindell knew that his statements about voting machines and

Smartmatic were false because Lindell was allegedly put on notice about the supposed “truth”

concerning those matters in various ways. Pl. Opp. at 10-21. This argument fails for two reasons.



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       First, in all cases, Smartmatic is claiming that Lindell was made aware of the supposed

“truth” by virtue of allegations in a complaint by Smartmatic or Dominion, or in a letter from a

defamation plaintiff (Dominion). That is, the information was part and parcel of denials made by

defamation plaintiffs. But Lindell need not believe or credit the denials of Smartmatic and

Dominion, no matter how vehement. See Tah v. Glob. Witness Publ’g, Inc., 991 F.3d 231, 242

(D.C. Cir. 2021).

       Second, as discussed herein above and in Defendants’ opening brief, Lindell had received

contrary information from multiple, independent sources—and there were no obvious reasons to

doubt the veracity of any of those sources, let alone all of them. See Def. Br. Supp. at 22 – 27; see

also Pls. Exs. 9, 29 to Pls. Mot. for Partial Summ. Judgment. The reckless disregard for truth or

falsity required by the actual malice standard cannot be established by showing that Lindell opted

to believe information from one set of sources as opposed to contrary information from another

set of sources. See Speer, 828 F.2d at 478.

       Moreover, because Lindell relied on multiple, independent sources to make the allegedly

defamatory statements, and because there is no evidence of any obvious reasons for Lindell to

doubt the veracity of any of his multiple sources (let alone all of them), no reasonable juror could

conclude that Lindell purposefully avoided the supposed “truth” by failing to credit the allegations

made and information provided by Smartmatic and Dominion.

       Dennis Montgomery. Plaintiffs assert that Lindell was warned about the credibility of

Dennis Montgomery. Pl. Opp. at 22 – 24. But one individual’s generalized opinion is not the kind

of material fact that proves Lindell harbored subjective doubts about the truth of his statements.

More importantly, Dominion’s “warning” about Montgomery’s credibility was self-serving,

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amounting to nothing more than an extension of Dominion’s denials that its voting machines were

vulnerable to hacking. Such denials cannot form the basis for establishing actual malice. See Tah,

at 242 (publisher “need not accept denials, however vehement; such denials are so commonplace

in the world of polemical charge and countercharges that, in themselves they hardly alert the

conscientious reporter to the likelihood of error.”). Dominion’s opinion about Montgomery’s

credibility does not amount to the kind of “obvious reason” that the St. Amant Court stated (in

dicta) might be sufficient to establish that Lindell harbored subjective doubt about the truth of his

statements. If a public-figure-defamation plaintiff could manufacture subjective doubts by

informing the defendant that one of his multiple sources lacked credibility, that would eviscerate

the actual malice requirement and undermine its purpose: preventing the suppression of speech

on matters of public concern.

       Plaintiffs further argue that Montgomery admits that he did not have any evidence

“implicating Smartmatic in rigging the 2020 election.” Pl. Opp. at 24. This argument fails because

Lindell never claimed that Smartmatic itself rigged the 2020 election and because the admission

from Montgomery that he had no evidence implicating Smartmatic came during his deposition—

long after he made statements that Lindell relied on. Defs. Opp. to Pls. Mot. Partial Summ Judg.,

at 25 – 32. Montgomery’s admission during his deposition is not relevant to Lindell’s statements,

let alone whether Lindell harbored subjective, serious doubts about the truth of his statements

when they were made.

       Dr. Douglas Frank. Plaintiffs likewise adduce no evidence creating a material fact issue

that Lindell had any obvious reason to doubt the veracity of information from Dr. Douglas Frank.

Plaintiffs assert that Dr. Frank is unqualified, despite the fact that he has a science-related Ph.D.

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as well as approximately 60 peer-reviewed scientific publications. Def. Opp. Br. at p. 24; but see

Kachouroff Decl., Ex. N, 33:8-34:9, 41:15-42:2. Lindell frequently asked Dr. Frank to analyze

election data, Lindell Decl. ¶ 2, and given Dr. Frank’s extensive scientific training and credentials,

Lindell had no obvious reason to doubt the analyses that Dr. Frank performed.

       Plaintiffs also assert that Dr. Frank’s theory that an algorithm had been used to manipulate

the results in all Presidential elections over the last 20 years was inherently improbable. Pl. Opp.

at 24-25. But none of Lindell’s allegedly defamatory statements invoke Dr. Frank’s theory that all

Presidential elections over the last 20 years have been manipulated by an algorithm. Lindell relied

on Dr. Frank to review election data, and he also relied on Dr. Frank—in addition to others—for

information about voting machines in general and to conclude that there had been manipulation

of votes in the 2020 Presidential election. Lindell Aff. ¶¶ 2, 5, 6. Whether it is inherently

implausible that an algorithm was used in 20 years’ worth of Presidential elections has no bearing

on whether Lindell harbored subjective, serious doubts about the truth of his statements

concerning voting machines and election fraud in the 2020 Presidential election.

       Again, Plaintiffs’ argument that Lindell never “vetted” Dr. Frank strays from the governing

standard: Actual malice cannot be established based on a failure to investigate information or

sources. See, e.g., St. Amant, 390 U.S. at 731, 733; Harte-Hanks, 491 U.S. at 588; Campbell, 255

F.3d at 570. Lindell had no duty to investigate Dr. Frank’s credibility, and in light of Dr. Frank’s

extensive scientific background, there was no obvious reason to doubt the veracity of Dr. Frank’s

information.

       Plaintiffs have pointed to no obvious reasons to doubt the veracity of Dr. Frank’s

information that would permit a conclusion that Lindell harbored subjective, serious doubts about

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the truth of the allegedly defamatory statements at issue. On the contrary, Lindell’s reliance on

Dr. Frank’s information, in light of Dr. Frank’s scientific pedigree and education, demonstrates

that Lindell did not make the statements at issue with reckless disregard for their truth or falsity.

       Gen. Michael Flynn. Similarly, Plaintiffs’ arguments that there were obvious reasons to

doubt the veracity of Gen. Michael Flynn have no merit. Plaintiffs contend that Gen. Flynn had

no background with voting security or systems, that he had been convicted for lying to Congress,

and that he had been banned from Twitter due to statements he made on the platform. Pl. Opp. at

25-26. But Gen. Flynn’s pleading guilty to lying to the F.B.I. about conversations with the Russian

Ambassador does not speak to Gen. Flynn’s credibility with respect to information he provided

Lindell on the subject of voting machines and election fraud. Being banned from Twitter or lacking

certain credentials doesn’t provide an obvious reason to doubt his veracity—that just means a

Twitter employee believed the user violated usage terms. There is no evidence that Lindell knew

about any of these things prior to making the allegedly defamatory statements.

       Plaintiffs claim that Defendants have not identified any evidence received by Lindell

supporting anything Lindell said but Lindell clearly argued that in his opening brief. See Def.

Opening Br. at 24-25. Next, Gen. Flynn’s refusal to answer questions at a deposition held long

after Lindell made the allegedly defamatory statements is not evidence about what Lindell knew

or believed when he made the statements. Moreover, that a source does not provide corroborating

evidence to support the information that the source passes along does not constitute a reason to

doubt the veracity of the source, let alone an “obvious reason.” The First Amendment does not

require a certain quantum of corroborating evidence from a source without which the source is

deemed obviously questionable. Gen. Flynn served in multiple administrations and as the

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Intelligence Director under the Obama Administration, having held a successful and highly

decorated U.S. military career globally prior to that. His background and experiences within the

U.S. government, across the globe, are certainly bases to trust the veracity of his information.

       Finally, Plaintiffs cite three cases to support their general argument that an alleged lack of

so-called “credible support” for Lindell’s statements is sufficient to establish reckless disregard

for the truth. See Pl. Opp. at 10. But in each of the cases, multiple other factors, not present in the

instant matter, drove the finding of actual malice, such as evidence of fabrication of facts and

blatantly obvious reasons to doubt the veracity of a single source. None of the cited cases stands

for the proposition that actual malice can be established by questioning the credibility of a

defamation defendant’s sources. See Sindi v. El-Moslimany, 896 F.3d 1, 16 (1st Cir. 2018) (finding

actual malice when, among other things, evidence showed that defendant fabricated material

facts); Rockwood Bank v. Gaia, 170 F.3d 833, 841 (8th Cir. 1999) (finding actual malice when

bank president made statements to bank examiners alleging poor performance of executive vice

president in spite of executive vice president’s assertions of excellent job performance backed

with empirical data); S. Air Transp., Inc. v. Post-Newsweek Stations, Fla., Inc., 568 So. 2d 927,

928 (Fla. Dist. Ct. App. 1990) (in case where defendants aired investigative television news show

accusing plaintiff of drug trafficking while engaged in covert arms shipments to Nicaraguan

Contras, finding actual malice when, among other things, the report was based on single

informant, and the informant “had an extensive drug trafficking background and a motive to lie

in order to obtain immunity therefor”).




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          B. Lindell’s statements were not inherently implausible.

       Plaintiffs further argue that a jury could conclude that Lindell acted with actual malice

because his statements were inherently implausible. Pl. Opp. at 30-32. See St. Amant, 390 U.S. at

732 (stating that “professions of good faith” would be unlikely to be persuasive when “the

publisher's allegations are so inherently improbable that only a reckless man would have put them

in circulation”). But statements about the vulnerability of electronic voting computer systems to

manipulation and hacking have been put into circulation by many sources that cannot be labeled

as “reckless.” As pointed out in Defendants’ opening brief, support for Lindell’s statements can

be found in the opinions of United States District Judge Amy Totenberg in Curling v.

Raffensperger, who received testimony from several leading cyber experts. In her October 11,

2020, opinion, Judge Totenberg wrote about the risks posed by Dominion’s BMD voting system

in Georgia, stating that the “stealth vote alteration or operational risks posed by malware that can

be effectively invisible to detection, whether intentionally seeded or not, are high once implanted,

if equipment and software systems are not properly protected, implemented, and audited.” Curling

v. Raffensperger, 493 F. Supp. 3d at 1341 (N.D. Ga. 2020). Judge Totenberg further observed that

“[t]he Plaintiffs’ national cybersecurity experts convincingly present evidence that this is not a

question of ‘might this actually happen?’---but ‘when it will happen.’” Id., at 1342. In light of the

Curling opinion as well as the other highly credible sources cited in Defendants’ opening brief,

see Def. Opening Br. at 26-28, Lindell’s statements are not inherently implausible.

       Plaintiffs further assert that Lindell’s statements are inherently implausible in light of the

fact that Smartmatic’s technology was only used in Los Angeles County during the 2020 election,

and Smartmatic’s technology created an auditable paper trail. Pl. Opp. at 31. But these assertions

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have nothing to do with Lindell’s actual statements. Lindell did not state that Smartmatic

machines in particular were used to rig the 2020 Presidential election. Rather, Lindell’s statements

voiced his concerns that voting machines in general were vulnerable to hacking and that they were

hacked to allow manipulation of votes in the 2020 Presidential election. Plaintiffs’ argument

merely sets up and attacks a straw man. See Defs. Br. Opp. to Pls. Mot. Partial Summ. Judg., at

19 – 32.

                                                *     *     *

       Plaintiffs do not contest one of the central facts in this case: that Lindell has repeatedly

stated and testified that he believed and still believes his statements to be true. See Pl. Opp. at 29.

It is true that mere “[p]rofessions of good faith will be unlikely to prove persuasive” when “a story

is fabricated by the defendant, is the product of his imagination, or is based wholly on an

unverified anonymous telephone call[,]” when “the publisher's allegations are so inherently

improbable that only a reckless man would have put them in circulation,” or when there “are

obvious reasons to doubt the veracity of the informant or the accuracy of his reports.” St. Amant,

390 U.S. at 732. But that is not the case here. Lindell’s repeated assertions that he believes in the

truth of his statements are much more than mere professions of good faith. As discussed herein

above, Lindell’s statements were not the product of his imagination, nor were they based solely

on an unverified anonymous source. On the contrary, Lindell’s statements were based on dozens

of independent sources beyond just those raise in Defendants’ brief—but rather those shown by

Plaintiffs’ proferred videos from Lindell. See e.g. Pls. Exs. to Pls. Mot. Summ. Judg. 9, 29.

Plaintiffs have failed to point to any obvious reasons to doubt the veracity of those sources. Lindell

was under no legal obligation to credit Smartmatic’s or Dominion’s denials or any of the contrary

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information they provided, especially given Lindell’s reliance on multiple sources. Nor can

Lindell be required to accept Plaintiffs’ assessments of his sources’ credibility. And, particularly

in light of the Georgia District Court’s holding in Curling, Lindell’s statements are not inherently

improbable.

       The protection of the First Amendment reaches is maximum where, as here, the speech at

issue constitutes discussion of issues of great public concern. See, e.g., Snyder v. Phelps, 562 U.S.

443, 452 (2011). Few if any issues of public concern have greater significance than the means by

which the elective franchise is administered. Accordingly, Plaintiffs bear a particularly heavy

burden to establish actual malice by clear and convincing evidence. Plaintiffs have put forward

no evidence—let alone clear and convincing evidence—that would permit the conclusion that

Lindell had serious, subjective doubts about the truth of his statements. Consequently, Plaintiffs

cannot establish actual malice, and the First Amendment requires the dismissal of Plaintiffs’

defamation claim.

       IV.Plaintiffs’ lack standing under both the MDTPA and Common Law defamation.

       Plaintiffs assert that they suffered reputational injuries from Lindell’s statements

nationwide—despite previously excluding states (including Minnesota) from their list of injuries.

See Defs. Ex. D in Supp. Defs. Mot. Summ. Judg., at pp. 26 – 31. However, nearly all of the

alleged “reputational injuries” Plaintiffs list occurred before Lindell’s first statement at issue here..

Second Decl. Kachouroff in Supp. Defs. Mot. Summ. Judg., Ex. P, Smartmatic Fox News

Complaint at pp. 220 – 239 (“Fox Compl.”).

       In Plaintiffs’ Fox Complaint, before Lindell ever made a single statement at issue in this

case, Smartmatic publicly stated that the value of Smartmatic’s intellectual property and tangible

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assets “has been nearly destroyed… leaving little value beyond liquidation value of [Plaintiffs’]

tangible assets.” See Ex. P, Fox Compl. ¶ 518. Despite Plaintiffs’ knowing admission that they had

veritably no value and had already suffered catastrophic and business-ending losses (not remotely

attributed to Lindell’s statements), Plaintiffs claim the exact same value of monetary damages on

Lindell that they claimed they had already suffered prior to Lindell’s first statement.

  Plaintiffs’ Fox News Complaint filed one-             Plaintiffs’ damages claimed solely against
 day before Lindell’s first statement at issue         Michael Lindell and My Pillow (statements
                here (2.4.2021).                          made 2.5.2021) here (6th Supplemental
                                                            Interrogatory dated June 3, 2024).
 “Based on [Plaintiffs Smartmatic, SGO                 “Assuming Smartmatic maintained a 21.3%
 Corporation] adjusted forecasts and projections       market share in 2021–2025, Smartmatic would
 [through 2025], due to [Defendants Fox                have earned, but for the disinformation
 Corporation, Fox News Network LLC, Lou                campaign that [Lindell and My Pillow]
 Dobbs, Maria Bartiromo, Jeanine Pirro,                participated in, approximately $652.1 million
 Rudolph Giuliani, Sidney Powell]s’ defamation         in revenue from 2021–2025 ($101.3 million in
 and disparagement, solely for election-related        2021, $115.8 million in 2022, $130.4 million
 sales, Smartmatic’s election business will suffer     in 2023, $145 million in 2024, $159.6 million
 between $500 million and $690 million in lost         in 2025).” Defs. Ex. D, Pls. 6th Supp Resp. to
 profits, based on (i) a forecasted loss of not less   Defs. Discovery Reqs., 4th Supp Resp to ROG
 than $500 million in profits from base contracts      20, at p. 33.
 and (ii) lost profits from potential upselling and
 other upside opportunities, in an estimated
 amount of not less than $190 million.” Defs.
 Ex. D, Fox Compl. ¶501.

       Plaintiffs cannot use this Court as their “back up plan” in case the Fox Complaint does not

pan out in their favor. See Ex. P, Fox Compl. at pp. 220 – 239; see also Decl. Kachouroff, Defs.

Appendix 1.

       For the same reasons, no jury could find that Plaintiffs will suffer imminent and irreparable

harm without a permanent injunction (prior restraint) because there are no damages nor injuries

relating to Lindell and My Pillow that are separate and distinct from those Plaintiffs raised before

Lindell’s first statement at issue. See id.; see also M.P. v. Hubbard Broad., Inc., 216 F. Supp. 2d

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933, 934 (D. Minn. 2001) (requiring a showing of “extraordinary circumstances” to issue

permanent injunction for unconstitutional prior restraint). There are no extraordinary

circumstances because the damages allege they suffered from Lindell and MyPillow, they

published were already incurred before Lindell made any statement about them.

            A. Plaintiffs’ MDTPA standing argument fails to establish a genuine issue of material
               fact.

         Plaintiffs assertion of standing based on alleged “nationwide” reputational damage “which

includes Minnesota” (Smartmatic Opp. at 42) fundamentally misapprehends the legal

requirements for standing under both the Minnesota Deceptive Trade Practices Act ("MDTPA")

and Minnesota Common Law Defamation. The existence of Plaintiffs’ Article III standing is a

jurisdictional prerequisite. See Sanzone v. Mercy Health, 954 F.3d 1031, 1046 (8th Cir. 2020). In

diversity cases, a plaintiff must not only “meet[ ] the ‘case or controversy’ requirements of

[A]rticle III of the Constitution [but] also [must have] standing to sue under the relevant state

law.” McGowen, Hurst, Clark & Smith, P.C. v. Commerce Bank, 11 F.4th 702, 708 (8th Cir. 2021)

(citation omitted). Minnesota law governs this dispute.

         Under Minnesota law, each of the Plaintiffs must establish standing in one of two ways:

when “(1) the party has suffered an injury-in-fact, or (2) the party is the beneficiary of a legislative

enactment granting standing.” Webb Golden Valley, LLC v. State, 865 N.W.2d 689, 693 (Minn.

2015).

            1. Presumed damages do not give Plaintiffs standing under the MDTPA absent a
               showing of actual malice by clear and convincing evidence.

         Plaintiffs improperly ground their claim to standing under the MDTPA on the proposition

that they are entitled to presumed damages without showing actual malice. Smartmatic Opp. at


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42. There is no authority for presumed damages under the MDTPA statute and Plaintiffs cannot

elevate the MDTPA over the Constitution. Plaintiffs’ MDTPA claim relies on the same defamation

allegations to penalize statements that “disparage Smartmatic’s goods, services, and business by

false and misleading representations of fact.” Suppl. Compl at ¶¶372-74.

       Nothing in the MDTPA creates a special arena insulated from the protections of the First

Amendment. There is no dispute in this case that Smartmatic is a public figure and that Lindell’s

speech was directed to matters of public concern. As we have explained, in such a context,

damages cannot be presumed to penalize an individual for that speech absent a showing of malice.

See Defendants’ Memorandum of Law in Opposition to Plaintiffs’ Motion for Partial Summary

Judgment, at 12-16; see also, New York Times, at 278–80.

       The U.S. Supreme Court has explicitly held that "in ruling on a motion for summary

judgment, the judge must view the evidence presented through the prism of the substantive

evidentiary burden." Anderson, at 254. Without evidence of actual malice, Plaintiffs’ “substantive

evidentiary burden” requires they demonstrate standing by showing actual harm—they cannot

rely on presumed damages.

          2. As a matter of law and fact, Plaintiffs cannot establish standing under the MDTPA
             because they have no damages in Minnesota nor any meaningful connection to
             Minnesota.

       Plaintiffs’ claim of “nationwide harm” directly contradicts their own detailed responses to

Interrogatory No. 20, which required identification of specific jurisdictions where economic loss

occurred. See Defs. Ex. D at pp. 26 - 30. Plaintiffs enumerated several states and numerous foreign

countries, but Minnesota is conspicuously not among them. Id. Plaintiffs thus admit they have no

economic loss in Minnesota and thus no harm to reputation.

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       Plaintiffs have no meaningful connection to Minnesota that could establish standing:

       • They have no certified election system that can be sold in Minnesota
       • They have offered no evidence that shows they have lost government contracts or
         customers in Minnesota
       • They do not have and have never had a business presence or actual business activity in
         Minnesota
       • They cannot demonstrate any actual economic loss and thus no reputational harm in
         Minnesota
See Defs. Mem. In Supp. of Defs. Mot. Summ. Judg. ¶¶ 10 – 32.

          B. The Rouse decision and 8th Circuit precedent definitively bar Plaintiffs’ MDTPA
             claims.

       This Court's recent decision in Rouse v. H.B. Fuller Co., 694 F. Supp. 3d 1149 (D. Minn.

2023), directly addresses and forecloses Plaintiffs' standing argument. Rouse established two

crucial principles:

   1. Standing under Minnesota law requires either specific, tangible harm or domicile within
      Minnesota.
   2. The MDTPA does not apply extraterritorially.
       Rouse, 694 F.Supp.3d at 1156–57 (“[N]amed plaintiffs lack standing to assert claims under

the laws of the states in which they do not reside or in which they suffered no injury.”)

       Plaintiffs' attempt to distinguish Rouse as applicable only to class actions fails. The Court's

reasoning in Rouse focuses on the fundamental requirement that plaintiffs demonstrate meaningful

connections to Minnesota when asserting statutory claims. The Court specifically rejected

standing for out-of-state plaintiffs who could not demonstrate harm directly traceable to

Minnesota.

       This interpretation is supported by two cases. First, Ferrari v. Best Buy Co., rejected

MDTPA claims by out-of-state plaintiffs attempting to rely on nationwide conduct. 2015 WL


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2242128 (D. Minn. May 12, 2015). The court ruled that plaintiffs could not bootstrap standing

under Minnesota law based on conduct with attenuated or indirect effects in the forum state.

Second, in Insulate SB, Inc. v. Advanced Finishing Systems, Inc., the court clarified that standing

requires not only harm tied to Minnesota but also harm that directly implicates the plaintiff's

ability to compete or operate within the state. 2014 WL 943224 (D. Minn. Mar. 11, 2014).

       Here, Smartmatic is neither domiciled in Minnesota nor conducting any business

operations within this state. Plaintiffs are out-of-state entities who are not licensed to do business

in Minnesota, have no certified election product to sell to the governments of this state, have never

tried to sell a service or a product in Minnesota, and they have alleged no economic loss in

Minnesota. And, Plaintiffs’ speculative claim of presumed reputational harm “nationwide,

including Minnesota” is precisely the type of speculative injury disallowed under the MDTPA.

          C. Plaintiffs cannot establish standing for their Minnesota Common Law defamation
             claim

       Minnesota’s standing requirements for common law defamation claims are equally

stringent. For their business, Plaintiffs must establish standing by showing that the alleged

defamation “harmed the plaintiff’s reputation in the community.” Maethner v. Someplace Safe,

Inc., 929 N.W.2d 868, 873 (Minn., 2019). Plaintiffs’ argument that “reputational harm” is

presumed and that they have “introduced evidence showing reputational harm and economic loss”

mischaracterizes the role of reputation in defamation law. Smartmatic Opp. at 47.

       The Eighth Circuit articulated this crucial distinction in Nat'l Ref. Co. v. Benzo Gas Motor

Fuel Co., Nat'l Ref. Co. v. Benzo Gas Motor Fuel Co., 20 F.2d 763, 766 (8th Cir. 1927), explaining

that while the basic principles of libel law apply to both corporations and individuals, their



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application differs significantly. As the court noted, corporations lack the personal reputation that

individuals possess, and therefore corporate defamation claims must specifically demonstrate

harm to the corporation's property, credit, or business. Id. Where a business is concerned,

reputational harm is economic loss. They are not separate categories.

       As with their MDTPA claim, Plaintiffs have not established an economic injury-in-fact in

any Minnesota community that is directly traceable to Defendants. Yet Plaintiffs seek per se

damages without proof of actual malice. Pls. Opp. at 39-40. But Plaintiffs cannot ignore the

prerequisite of proving malice that must precede any presumption of damages. Curtis Publ'g Co.

v. Butts, 388 U.S. 130, 155, (1967); New York Times, at 278–80.

       For purposes of standing under Minnesota’s common law defamation involving public

figures and matters of public concern, the Minnesota Supreme Court has required a showing of

actual malice by “clear and convincing” evidence in order to survive summary judgment. See

Richie v. Paramount Pictures Corp., 544 N.W.2d 21, 26 (Minn., 1996) (absent actual malice,

“there must be a genuine issue of material fact as to whether [plaintiffs] suffered actual harm;

damages cannot be presumed.” Id.).

       Plaintiffs’ credibility is severely undermined by their prior litigation position: The day

before Lindell first mentioned Smartmatic, Plaintiffs filed suit against Fox News Corporation

claiming their business was already "virtually destroyed" and worth only "liquidation of tangible

assets." See Ex. P, Fox Compl. ¶¶517-519. Plaintiffs’ suit amounts to suing Lindell for kicking

their already dead horse. Nothing in Plaintiffs’ expert report or any other traces any damage to

Minnesota because, in fact, the damages Plaintiffs claim they suffered here were already done

prior to Lindell’s first statement.

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      Plaintiffs’ complete lack of business presence in Minnesota at any time, coupled with their

failure to demonstrate specific harm within the state, precludes standing under both Minnesota’s

MDTPA and common law defamation claims.

                                       CONCLUSION

      For the foregoing reasons and those in Defendants opening brief, Michael Lindell and My

Pillow respectfully request this Court enter summary judgment dismissing all claims with

prejudice.

      Dated: December 27, 2024.

                                         Respectfully Submitted,

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